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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

“VS+

D-1 ROY M. BAILEY,

Defendant.

 

No, 07-20327
HONORABLE JULIAN ABELE COOK, JR.
OFFENSE(S):

Count Four: Conspiracy to Defraud the
United States;

Count Five: Misprision of Felony;
Count Six: Conspiracy to Commit
Bribery;

MAXIMUM PENALTY:

Count Four:

Up to 5 years imprisonment.
Count Five:

Up to 3 years imprisonment;
Count Six:

Up to 5 years imprisonment;

MAXIMUM FINE:

Count Four: Up to $250,000.00:
Count Five: Up to $250,000.00;
Count Six: Up to $250,000.00.

RULE 11 PLEA AGREEMENT

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant

ROY M. BAILEY and the government agree as follows:

 
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1. GuiLTy PLEA

A. Count(s) of Conviction

Defendant will enter a plea of guilty to Count Four, Count Five and Count
Six of the First Superseding Indictment. Count Four charges Conspiracy to Defraud
the United States, in violation of Title 18, United States Code, Section 371. Count
Five charges Misprision of Felony, in violation of Title 18, United States Code,
Section 4. Count Six charges Conspiracy to Commit Bribery, in violation of Title 18,

United States Code, Sections 201 and 371.

B. Elements of Offense(s)

The elements of Count Four (conspiracy to defraud the United States) are:
(1) That two or more persons conspired or agreed to defraud the United
States, or one of its agencies or departments, by dishonest means;

(2) That the defendant knowingly and voluntarily joined that conspiracy;

and

(3) That a member of the conspiracy did one or more of the overt acts set
forth in Count Four of the First Superseding indictment for the purpose of

advancing or helping the conspiracy.

 
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The elements of Count Five (misprision of felony) are:

(1) That a felony cognizable by a Court of the United States was committed

by someone other than the defendant;
(2) That the defendant had actual knowledge of that fact;
(3) That the defendant failed to notify the relevant authorities;

(4) That the defendant deliberately took affirmative steps to conceal the

commission of the crime.
The elements of Count Six (conspiracy to commit bribery) are:

(1) That the defendant and one or more other persons knowingly and willfully
agreed and conspired to commit an offense againsi the United States, thatis,
bribery of a public official. Specifically, the defendant, being a public official,
agreed and conspired with others, directly and indirectly, to corruptly demand,
seek, receive and accept, and to agree to receive and to accept, one or more
things of value, in return for being influenced to allow any fraud, or make

opportunity for the commission of any fraud, on the United States.

(2) The defendant knew the purpose of the conspiracy or agreement and

deliberately, knowingly and wilfully joined the conspiracy or agreement.

(3) At some time during the existence or ife of the conspiracy or agreement,

 
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one of its members knowingly performed one of the overt acts charged in
Count Six of the Superseding Indictment, in order to further or advance the

purpose of the conspiracy or agreement.

C. Factual Basis for Guilty Plea

The parties agree that the following facts provide a sufficient and accurate

basis for defendant's guilty pleas.
i) Count Four - Conspiracy to Defraud the United States

Starting In or before January of 2001 and continuing through in or after June
of 2003, Talal Chahine, Mchammad Arzouni and others agreed and conspired to
defraud the United States, that is, to obtain immigration benefits for one or more
employees and associates of Talal Chahine on the basis of dishonest means
through false and fraudulent pretenses and representations made to the U.S.
Immigration and Naturalization Service, subsequently known as U.S. Citizenship and

Immigration Services.

As part of that conspiracy and agreement, in September of 1999, Momamad
Arzouni, a native of Lebanon, and an employee and associate of Talal Chahine,
entered into a fraudulent marriage with a citizen of the United States, hereafter
identified as “Priscilla T.,” solely for the purpose of evading the immigration laws of

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the United States.

As part of that conspiracy, in or about September of 1999, Mohamad Arzount
paid and agreed to pay in excess of $1,000.00 in U.S. currency to Priscilla T. in

return for her agreement to marry Mohamad Arzouni.

As part of that conspiracy, in January of 2000, Mohamad Arzouni filed and
caused to be filed an Application to Register Permanent Residence or Adjust Status
with the U.S. Immigration and Naturalization Service, based upon his frauduient

marriage to Priscilla T.

As part of that conspiracy, in and after January of 2001, Mohamad Arzouni
contacted co-defendant Talal Chahine to request assistance from Talal Chahine in
obtaining Permanent Residence Status based upon Mohamad Arzouni's fraudulent
marriage to Priscilla T. Thereafter, Talal Chahine contacted ROY M. BAILEY te
request assistance from ROY M. BAILEY in obtaining Permanent Residence Status

for Mohamad Arzouni based upon his fraudulent marriage to Priscilla T.

As part of that conspiracy and agreement, and to advance the purpose of that
conspiracy, in and before March of 2001, ROY M. BAILEY provided false and
fraudulent information to a District Adjudication Officer with the Immigration and
Naturalization Service in order to cause the approval of the Application to Register

Permanent Residence or Adjust Status filed by Mohamad Arzouni.

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As part of that conspiracy and agreement, and to advance the purpose of that
conspiracy, in February of 2003, Mohamad Arzouni filed a Petition to Remove the
Conditions on Residence with the U.S. Immigration and Naturalization Service,

based upon the fraudulent marriage with Priscilla T.

At all times relevant, ROY M. BAILEY acted knowingly, wilfully and

deliberately.
ii) Count Five - Misprision of Felony

Between August of 1999 and March of 2003, ROY M. BAILEY held the
position of Assistant District Director of the U.S. Immigration and Naturalization
Service (INS) office in Detroit, Michigan. Between March of 2003 and February of
2004, ROY M. BAILEY held the position of Acting Field Office Director for Detention
and Removal Operations of the U.S. Department of Homeland Security ~ Immigration

and Customs Enforcement (DHS-ICE) office in Detroit, Michigan.

In his position as INS Assistant District Director and, thereafter, as DHS-ICE
Acting Field Office Director, ROY M. BAILEY supervised the custody and
transportation of immigration allens and their property pending the completion of
their deportation proceedings and removal from the United States. ROY M. BAILEY
supervised numerous INS and ICE employees, including Detention Enforcement

Officers and Deportation Officers assigned to the INS/ICE office in Detroit, Michigan.

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ROY M. BAILEY also supervised the operation of the INS/ICE detention facility

located in Monroe, Michigan.

Between 2000 and 2004, Patrick Wynne was employed as a Detention
Enforcement Officer assigned to the INS/ICE office in Detroit, Michigan. As part of
his official duties, in or about 2000, Patrick Wynne was assigned as the Property
Officer for the INS/ICE detention facility in Monroe, Michigan. As the INS/ICE
Property Officer, Patrick Wynne took custedy of numerous items of personal
property, including U.S. and foreign currency, credit cards, jewelry and personal
electronics that were found on the person or in the possession of individual aliens

when they were taken into INSICE custody.

As the INS/ICE Property Officer, it was the duty of Patrick Wynne to maintain
control over all items of personal property, including all valuables, taken from each
alien who was placed into custody at the INS/ICE detention facility In Monroe,
Michigan. As the Property Officer, it was also the duty of Patrick Wynne to ensure
that the property was returned to the individual alien upon his or her deportation from

the United States or other release from INS/ICE custody.

Between 2000 and February of 2004, Patrick Wynne stole, embezzied and
converted to his own use over $300,000.00 in U.S. Currency, which monies had

been placed under his control as the Property Officer of the INS/ICE cetention facility

 
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in Monroe, Michigan. The subject U.S. Currency was embezzled and stolen by
Patrick Wynne from bags of personal property belonging to more than 300 separate
INS/ICE detainees. In doing so, Patrick Wynne committed multiple felony violations
of Title 18, United States Code, Section 654 (Officer or employee of the United
States converting property of another) cognizable by a Court of the United States.
At all times relevant, Patrick Wynne worked in the INS/ICE section that was

supervised by ROY M. BAILEY.

in or about September of 2003, two employees assigned to the Detention and
Removal section of the INS/CE office in Detroit, Michigan, met in person with ROY
M. BAILEY. During that meeting, the two employees presented documents and
other information showing that Officer Patrick Wynne was engaged in a pattern of
conversion, embezzlement and theft of property belonging to numerous detained
aliens housed at the INS/ICE detention facility in Monroe, Michigan. After being
presented with that information, ROY M. BAILEY told the two employees: “lll take

care of it.”

At the time of the meeting in September of 2003, ROY M. BAILEY was the
senior official at the INS/ICE office in Detroit, Michigan charged with detention and

deportation of immigration aliens. In telling the two employees, “I'll take care of tt,’

ROY M. BAILEY acted affirmatively in dissuading the two DHS-ICE employees from
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reporting Patrick Wynne’s thefts to the Office of Professional Responsibility, the
Office of Inspector General, the Federal Bureau of Investigation or any other law
enforcementagency. In doing so, ROY M. BAILEY acted affirmatively to conceal the

felony embezzlements and thefts committed by Patrick Wynne.

At no time after receiving the relevant information in September of 2003, did
ROY M. BAILEY report the felony thefts and embezzlements by Patrick Wynne to

the relevant authorities.

In February of 2004, investigating agents from the Office of Inspector General
and the Federal Bureau of Investigation seized over 100 INS/ICE property bags
during a search of the residence of Patrick Wynne located in Milan, Michigan. The
subject property had been stolen from the INS/ICE detention facility in Monrce,

Michigan.

iii) Count Six - Conspiracy to Commit Bribery

Starting in or before January of 2000 and continuing through in or after
February of 2004, defendant ROY M. BAILEY agreed and conspired with attorney
Namir Daman and others to commit the offense of bribery of a public official. Atthe
time, ROY M. BAILEY held the position of Assistant District Director for the Detroft

office of the U.S. Immigration and Naturalization Service (JNS) and, thereafter, of

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Acting Field Office Director for Detention and Removal in the Detroit office of the
U.S. Department of Homeland Security, Immigration and Customs Enforcement
(DHS-ICE). As the INS Assistant District Director and, thereafter, as the acting
DHS-ICE Field Office Director, ROY M. BAILEY was a public official who supervised
the custody and transportation of immigration aliens pending the completion of their

deportation and removal proceedings.

As part of the subject conspiracy, between 2000 and 2004, Namir Daman
corruptly promised, offered and gave to ROY M. BAILEY, and ROY M. BAILEY
corruptly received and agreed to receive from Namir Daman, one or more things of
value. The subject things of value included $1,500.00 in funds paid by Namir
Daman in October of 2001 to a private attorney in Rochester, Michigan who was
then representing ROY M. BAILEY. The subject things of value also included
landscaping services valued at more than $500.00, which services were provided in
September of 2003, by clients of Namir Daman, at a residence located in Romulus,

Michigan owned by Roy M. Bailey.

As part of the subject conspiracy, between October of 2000 and February of
2004, ROY M. BAILEY used his official position to allow Namir Daman to obtain
through fraud numerous immigration and naturalization benefits for clenis of Namir

Daman, and otherwise made opportunities for Namir Daman to commit fraud on the

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Immigration and Naturalization Service and, thereafter, the U.S.Citizenship and

immigration Services.

As part of the subject conspiracy, in and after January of 2001, ROY M.
BAILEY knowingly allowed Namir Daman to seek immigration benefits based upon
false and fraudulent representations made on behalf of a client of Namir Daman
herein referred to as “Hanadi H.” Specifically, Namir Daman was allowed to obtain
an adjustment to lawful residence of the United States for “Hanadi H.” based upen

a fraudulent marriage to a United States citizen.

As part of the subject conspiracy and agreement, in September of 2002, ROY
M. BAILEY failed to deport a client of Namir Daman herein referred to as “B. Farraj,

who was then subject to a Final Order of Deportation.

As part of the subject conspiracy and agreement, in October of 2003, ROY MN.
BAILEY failed to deport a client of Namir Daman herein referred to as “N. Younan’
who was then subject to a Final Order of Deportation. In and after October of 2003,
attorney Narmir Daman obtained and attempted to obtain immigration benefits for "N.
Younan” based upon a false and fraudulent representations made to US.

Immigration and Citizenship Services.

At all times relevant between January of 2000 and February of 2004, ROY M.

BAILEY acted knowingly, wilfully and deliberately,

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2. SENTENCING GUIDELINES
A. Standard of Proof
The Court will find sentencing factors by a preponderance of the evidence.
B. Agreed Guideline Range

The parties agree on all sentencing factors except the following: the applicable
advisory guideline range for Count Five of the Superseding under USSG §8§ 2X1.1
and 2B1.1, including the total loss amount and the total number of victims for which
defendant ROY M. BAILEY can be held accountable. There are no other sentencing
guideline disputes. Except as provided below, defendant's guideline range is 30-37

months, as set forth on the attached worksheets. If the Court finds:

a) that defendant's criminal history category is higher than reflected on

the attached worksheets, or

b) that the offense level should be higher because, after pleading guilty,
defendant made any false statement to or withheld information from his
probation officer; otherwise demonstrated a lack of acceptance of
responsibility for his offense(s); or obstructed justice or committed any

crime,

and if any such finding results in a guideline range nigher than 30-37 months, the

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higher guideline range becomes the agreedrange. However, if the Court finds that
defendant is a career offender, an armed career criminal, or a repeat and dangerous
sex offender as defined under the sentencing guidelines or other federal law, and
that finding is not already refiected in the attached worksheets, this paragraph does

not authorize a corresponding increase in the agreed range.

Neither party may take a position concerning the applicable guidelines thatis
different than any position of that party as reflected in the attached worksheets,
except as necessary to the Court’s determination regarding subsections a) and 5),

above.
3. SENTENCE

The Court will impose a sentence pursuant to 18 U.S.C, §3553, and in doing

so must consider the sentencing guideline range.

A. Imprisonment

Pursuant to Federal Rule of Criminal Procedure 41(c)(1)(C) the sentence of
imprisonment in this case may not exceed the top of the sentencing guideline range

as determined by Paragraph 2B.
B. Supervised Release

A term of supervised release, if imposed, follows the term of imprisonment.

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There is no agreement on supervised release. In other words, the Court may
impose any term of supervised release up to the statutory maximum term, which in
this case is not more than 2 years. The agreement concerning imprisonment
described above in Paragraph 3A does not apply to any term of imprisonment that

results from any later revocation of supervised release.
C. Special Assessment

Defendant will pay a special assessment of $300.00 and must provide the

government with a receipt for the payment before sentence is imposed.
D. Fine

Pursuant to USSG § 5E1.2, a fine of between $7 500.00 and $75,000.00 shall

be imposed in this matter.
E. Restitution

Restitution is not applicable to this case.

 
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4, Cooperation Agreement.

The written cooperation agreement between defendant and the government,

which is dated August 1, 2008, is part of this plea agreement.
5. OTHER CHARGES

Upon defendant being sentenced for Counts Four, Five and Six of the
Superseding Indictment, the government agrees to dismiss Counts One, Two,
Three, Seven, Eight and Nine of the Superseding Indictment with respect to
defendant Roy M. Bailey. The parties agree that the conduct charged in the
dismissed counts may be considered as relevant conduct in fashioning the advisory

guideline range in this matter.
6. Facy Party's RIGHT To WITHDRAW FROM THIS AGREEMENT

The government may withdraw from this agreement if the Court finds the

correct guideline range to be different than is determined by Paragraph 2B.

Defendant may withdraw from this agreement, and may withdraw his guilty
plea, if the Court decides to impose a sentence higher than the maximum allowed
py Part 3. This is the only reason for which defendant may withdraw from this
agreement. The Court shall advise defendant that if he does not withdraw his guilty
plea under this circumstance, the Court may impose a sentence greater than the

maximum allowed by Part 3.
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7. RIGHT TO APPEAL

if the sentence imposed falls within or below the guideline range determined
pursuant to Paragraph 2B, above, defendant waives any right io appeal his
conviction or sentence. If the sentence imposed is above that range, defendant
retains his right to directly appeal the Court’s sentencing determination. The
government agrees not to appeal any sentence within the guideline range it has
recommended in Paragraph 2B, but retains the right to appeal any determination by

the Court to apply a lower guideline range.

8. CONSEQUENCES OF WITHDRAWAL OF Guitty PLEA(S) OR VACATION OF

CONVICTION(S)

lf defendant is allowed to withdraw his guilty plea or if any conviction entered
pursuant to this agreementis vacated, the Court shall, on the government's request,
reinstate any charges that were dismissed as part of this agreement. If additional
charges are filed against defendant within six months after the date the order
vacating defendant's conviction or allowing him to withdraw his guilty plea(s)
becomes final, which charges relate directly or indirectly to the conduct underying

the guilty plea(s) or to any conduct reflected in the attached worksheets, defendant

waives his right to challenge the additional charges on the ground that they were not

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filed in a timely manner, including any claim that they were filed after the applicable

limitations period expired.
9, PARTIES TO PLEA AGREEMENT

Unless otherwise indicated, this agreement does not bind any government
agency except the United States Attorney's Office for the Eastern District of

Michigan.

10. Scope oF PLEA AGREEMENT

This agreement, which includes all documents that it explicitly incorporates,
is the complete agreement between the parties. i supersedes all other promises,
representations, understandings, and agreements between the parties concerning
the subject matter of this plea agreement that are made at any time before the guilty
plea is entered in court. Thus, no oral or written promises made by the government
to defendant or to the attorney for defendant at any time before defendant pleads
guilty are binding except to the extent they have been explicitly incorporated into this

agreement.

This agreement does not limit or prevent any civil or administrative actions
against defendant, or any forfeiture claim against any propery, by the United States

or any other party.

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41. ACCEPTANCE OF AGREEMENT BY DEFENDANT

This plea offer expires unless it has been received, fully signed, in the Office
of the United States Attorney by 5:00 P.M. on September 16, 2008. The
government reserves the right to modify or revoke this offer at any time before

defendant pleads guilty.

STEPHEN J. MURPHY
UnitedStales Attomey

 

 

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LYNN HELAND BRUCE C. JUDGE
ASSISTANT UNITED STATES ATTORNEY ASSISTANT UNITED STATES ATTORNEY
CHIEF, SPECIAL PROSECUTIONS UNIT SPECIAL PROSECUTIONS UNIT

DATE: F/B or

BY SIGNING BELOW, DEFENDANT ACKNOWLEDGES THAT HE HAS READ (OR BEEN
READ) THIS ENTIRE DOCUMENT, UNDERSTANDS IT, AND AGREES TO ITS TERMS. HE ALSO
ACKNOWLEDGES THAT HE IS SATISFIED WITH HIS ATTORNEY'S ADVICE AND
REPRESENTATION. DEFENDANT AGREES THAT HE HAS HAD A FULL AND COMPLETE
OPPORTUNITY TO CONFER WITH HIS LAWYER, AND HAS HAD ALL OF HIS QUESTIONS
ANSWERED BY HIS LAWYER.

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MICHAEL STARR, ESC. Roy M. BAILEY /
ATTORNEY FOR DEFENDANT DEFENDANT

DATE: 11/0

 

 

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